
STEAGALL, Justice
(dissenting).
The Governor is the highest constitutional officer in this state. Our Constitution provides that “the supreme executive power of this state shall be vested in a chief magistrate, who shall be styled 'the Governor of the state of Alabama.’ ” Article V, § 113, Alabama Constitution of 1901. “The Governor shall take care that the laws be faithfully executed.” Article V, § 120.
I believe that this Court would be correct and wise to allow the Governor to make important executive decisions affecting the lives and health of our citizens. Indeed, this is required by our Constitution.
This view is not inconsistent with the right of the attorney general to intervene in a case when he disagrees with the action of a state agency. The Supreme Court of Mississippi stated this position in State ex rel. Attain v. Mississippi Public Service Comm’n, 418 So.2d 779, 784 (Miss. 1982):
“The unique position of the Attorney General requires that when his views differ from or he finds himself at odds with an agency, then he must allow the assigned counsel or specially appointed counsel to represent the agency unfettered and uninfluenced by the Attorney General’s personal opinion. If the public interest is involved, he may intervene to protect it.”
I think this position is practical and is in the best interests of all the people of this state. I, therefore, respectfully dissent.
MADDOX, J., concurs.
